                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


 UNITED STATES OF AMERICA                       )
                                                )
                                                )
 v.                                             )          No. 1:07-cr-25
                                                )          Judge Edgar
                                                )
 KENNETH JONES                                  )


                                            ORDER


        In accordance with the accompanying memorandum opinion filed herewith, the post-trial

 motion by defendant Kenneth Jones for judgment of acquittal under Fed. R. Crim. P. 29 and for a

 new trial under Fed. R. Crim. P. 33 [Doc. No. 122] is DENIED.

        SO ORDERED.

        ENTER this the 3rd day of November, 2008.



                                     /s/ R. Allan Edgar
                                   R. ALLAN EDGAR
                             UNITED STATES DISTRICT JUDGE




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